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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiffs,        )
      v.                                   )   No. 6:21-cv-00016
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)


                         DECLARATION OF LEONARDO R. LOPEZ

          My name is Leonardo R. Lopez, and I am over the age of 18 and fully competent in all

respects to make this declaration. I have personal knowledge and expertise of the matters herein

stated.

          1.     I am the Associate Commissioner for School Finance/Chief School Finance Officer

at the Texas Education Agency (“TEA”). I have worked for TEA in this capacity since June 2016,

having previously served as the Executive Director of Finance for the Austin Independent School

District (“AISD”) for four years. Prior to my time at AISD, I served for ten years in a variety of

roles for TEA, including six years as the Foundation School Program Operations Manager for the

TEA’s State Funding Division.

          2.     In my current position, I oversee TEA’s school finance operations, including the

administration of the Foundation School Program and analysis and processing of financial data.

My responsibilities also include representing TEA in legislative hearings and school finance-

related litigation.
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       3.      TEA estimates that the average funding entitlement for fiscal year 2022 will be

$9,211 per student in attendance for an entire school year. If a student qualifies for the additional

Bilingual and Compensatory Education weighted funding (for which most, if not all, UAC

presumably would qualify), it would cost the State $11,500 to educate each student in attendance

for the entire school year.

       4.      TEA has not received any information directly from the federal government

regarding the precise number of unaccompanied children (“UAC”) in Texas. However, I am aware

that data from the U.S. Health and Human Services (“HHS”) Office of Refugee Resettlement

(accessed on December 30, 2021 at 11:43 p.m. CST at https://www.acf.hhs.gov/orr/grant-

funding/unaccompanied-children-released-sponsors-state) (attached as Exhibit 1), indicates that in

Texas, 3,272 UAC were released to sponsors during the 12-month period covering October 2014

through September 2015; 6,550 UAC were released to sponsors during the 12-month period

covering October 2015 through September 2016; 5,391 UAC were released to sponsors during the

12-month period covering October 2016 through September 2017; 4,136 UAC were released to

sponsors during the 12-month period covering October 2017 through September 2018; 9,900 UAC

were released to sponsors during the 12-month period covering October 2018 through September

2019; 2,336 UAC were released to sponsors during the 12-month period covering October 2019

through September 2020; and 15,341 UAC were released during the 12-month period covering

October 2020 through September 2021. If each of these children is educated in the Texas public

school system and qualifies for Bilingual and Compensatory Education weighted funding (such

that the State’s annual cost to educate each student for fiscal years 2016, 2017, 2018, 2019, 2020,

2021, and 2022 would be roughly $9,573, $9,639, $9,841, $10,330, $11,323, $11,536, and $11,500

respectively), the annual costs to educate these groups of children for fiscal years 2016, 2017,
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2018, 2019, 2020, 2021, and 2022 would be approximately $31.32 million, $63.13 million, $53.05

million, $42.73 million, $112.10 million, $26.95 million, and $176.42 million, respectively.

        5.     School formula funding is comprised of state and local funds. The state funding is

initially based on projections made by each school district at the end of the previous biennium.

Districts often experience increases in their student enrollment from year to year, and the State

plans for an increase of approximately 36,000 students in enrollment growth across Texas each

year.

        6.     The Foundation School Program serves as the primary funding mechanism for

providing state aid to public schools in Texas. Any additional UAC enrolled in Texas public

schools would increase the State’s cost of the Foundation School Program over what would

otherwise have been spent.

        7.     Based on my knowledge and expertise regarding school finance issues impacting

the State of Texas, I anticipate that the total costs to the State of providing public education to

UAC will rise in the future to the extent that the number of UAC enrolled in the State’s public

school system increases.

        8.     All of the facts and information contained within this declaration are within my

personal knowledge and are true and correct.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

        Executed on this 3rd day of January 2022.

                                                             ____________________________
                                                             LEONARDO R. LOPEZ
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION


STATE OF TEXAS; STATE OF
LOUISIANA,
                                                  Civ. Action No. 6:21-cv-00016
               Plaintiffs,

v.

The UNITED STATES OF AMERICA;
ALEJANDRO MAYORKAS, Secretary of the
United States Department of Homeland
Security, in his official capacity; UNITED
STATES DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior Official
Performing the Duties of the Commissioner of
U.S. Customs and Border Protection, in his
official capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official capacity;
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT;          TRACY        RENAUD,
Senior Official Performing the Duties of the
Director of the U.S. Citizenship and
Immigration Services, in her official capacity;
U.S. CITIZENSHIP AND IMMIGRATION
SERVICES,


               Defendants.




                  Exhibit 1
                      to
         PLAINTIFFS' TRIAL EXHIBIT H
12/30/21, 11:43 AMCase 6:23-cv-00007    Document
                               Unaccompanied           22-4 toFiled
                                             Children Released       onby02/14/23
                                                               Sponsors                in TXSD forPage
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                                                                                                     Children of Families
                                                                                                                 8

  Unaccompanied Children Released to Sponsors by State
       Listen


  Publication Date: June 24, 2021
  When a child who is not accompanied by a parent or legal guardian is apprehended by immigration authorities, the child is transferred to the
  care and custody of the Office of Refugee Resettlement (ORR). Federal law requires that ORR feed, shelter, and provide medical care for
  unaccompanied children until it is able to release them to safe settings with sponsors (usually family members), while they await immigration
  proceedings. These sponsors live in many states.

  Sponsors are adults who are suitable to provide for the child’s physical and mental well-being and have not engaged in any activity that would
  indicate a potential risk to the child. All sponsors must pass a background check. The sponsor must agree to ensure the child’s presence at all
  future immigration proceedings. They also must agree to ensure the minor reports to ICE for removal from the United States if an immigration
  judge issues a removal order or voluntary departure order.

  HHS is engaging with state officials to address concerns they may have about the care or impact of unaccompanied children in their states,
  while making sure the children are treated humanely and consistent with the law as they go through immigration court proceedings that will
  determine whether they will be removed and repatriated, or qualify for some form of relief.

  HHS has strong policies in place to ensure the privacy and safety of unaccompanied children by maintaining the confidentiality of their personal
  information. These children may have histories of abuse or may be seeking safety from threats of violence. They may have been trafficked or
  smuggled. HHS cannot release information about individual children that could compromise the child’s location or identity.




  The data in the table below shows state-by-state data of unaccompanied children released to sponsors as of October 31, 2021. ACF will update
  this data each month. Additional data on unaccompanied children released to sponsors by state is available on the HHS website .

  View unaccompanied children released to sponsors by county.

  Please note: ORR makes considerable effort to provide precise and timely data to the public, but adjustments occasionally occur following
  review and reconciliation. The FY2014 release data posted in the chart below were updated on March 13, 2015. The FY2015 release data were
  updated May 9, 2016. The FY2017 release data were updated May 22, 2018. The FY2018 release data were updated December 3, 2019. Questions
  may be addressed to ORR directly, at (202) 401-9246.


  Unaccompanied Children Release Data
                                         TOTAL
                         TOTAL                           TOTAL           TOTAL             TOTAL        TOTAL            TOTAL           TOTAL
                                         NUMBER
                         NUMBER                          NUMBER          NUMBER            NUMBER       NUMBER           NUMBER          NUMBER
                                         OF UC
                         OF UC                           OF UC           OF UC             OF UC        OF UC            OF UC           OF UC
                                         RELEASED
                         RELEASED                        RELEASED        RELEASED          RELEASED     RELEASED         RELEASED        RELEASED
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                         TO                              TO              TO                TO           TO               TO              TO
     STATE                               SPONSORS
                         SPONSORS                        SPONSORS        SPONSORS          SPONSORS     SPONSORS         SPONSORS        SPONSORS
                                         IN FY16
                         IN FY15                         IN FY17         IN FY18           IN FY19      IN FY20          IN FY21         IN FY22
                                         (OCT. 2015
                         (OCT. 2014                      (OCT. 2016      (OCT. 2017        (OCT. 2018   (OCT. 2019       (OCT. 2020      (OCT. 2021
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                         2015)                           2017)*          2018)*            2019)        2020)            2021)*          2021)
                                         2016)

     Alabama             808             870             598              736              1,111         247             1,946           208

     Alaska              2               5               3                0                4             0               4               1

     Arizona             167             330             322              258              493           162             631             56

     Arkansas            186             309             272              193              359           87              790             85

https://www.acf.hhs.gov/orr/grant-funding/unaccompanied-children-released-sponsors-state                                                              1/4
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                                         TOTAL
                         TOTAL                           TOTAL           TOTAL             TOTAL        TOTAL        TOTAL        TOTAL
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                         OF UC                           OF UC           OF UC             OF UC        OF UC        OF UC        OF UC
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                         RELEASED                        RELEASED        RELEASED          RELEASED     RELEASED     RELEASED     RELEASED
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                         TO                              TO              TO                TO           TO           TO           TO
     STATE                               SPONSORS
                         SPONSORS                        SPONSORS        SPONSORS          SPONSORS     SPONSORS     SPONSORS     SPONSORS
                                         IN FY16
                         IN FY15                         IN FY17         IN FY18           IN FY19      IN FY20      IN FY21      IN FY22
                                         (OCT. 2015
                         (OCT. 2014                      (OCT. 2016      (OCT. 2017        (OCT. 2018   (OCT. 2019   (OCT. 2020   (OCT. 2021
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                         — SEPT.                         — SEPT.         — SEPT.           — SEPT.      — SEPT.      — SEPT.      — OCT.
                                         SEPT.
                         2015)                           2017)*          2018)*            2019)        2020)        2021)*       2021)
                                         2016)

     California          3,629           7,381           6,268            4,675            8,447        2,225        10,773       1,195

     Colorado            248             427             379              313              714          172          1,088        125

     Connecticut         206             454             412              332              959          260          1,447        123

     Delaware            152             275             178              222              383          107          519          57

     DC                  201             432             294              138              322          48           307          53

     Florida             2,908           5,281           4,059            4,131            7,408        1,523        11,145       1,190

     Georgia             1,041           1,735           1,350            1,261            2,558        559          4,358        485

     Hawaii              2               4               4                1                16           6            23           4

     Idaho               11              39              11               28               62           19           84           10

     Illinois            312             519             462              475              863          211          1,712        204

     Indiana             240             354             366              394              794          209          1,593        196

     Iowa                201             352             277              238              489          119          677          74

     Kansas              245             326             289              305              453          95           718          66

     Kentucky            274             503             364              370              710          158          1,042        114

     Louisiana           480             973             1,043            931              1,966        355          2,851        291

     Maine               4               9               11               22               26           11           64           12

     Maryland            1,794           3,871           2,957            1,723            4,671        825          5,471        609

     Massachusetts       738             1,541           1,077            814              1,756        448          2,549        263

     Michigan            132             227             160              136              248          74           451          56

     Minnesota           243             318             320              294              624          151          1,002        113

     Mississippi         207             300             237              299              482          108          707          53

     Missouri            170             261             234              203              431          93           794          90

     Montana             2               0               2                3                0            2            28           4

     Nebraska            293             486             355              374              563          130          889          90

     Nevada              137             283             229              132              324          79           465          50

     New
                         14              25              27               20               25           8            67           7
     Hampshire

     New Jersey          1,462           2,637           2,268            1,877            4,236        921          5,911        668

https://www.acf.hhs.gov/orr/grant-funding/unaccompanied-children-released-sponsors-state                                                       2/4
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                         NUMBER                          NUMBER          NUMBER            NUMBER       NUMBER       NUMBER       NUMBER
                                         OF UC
                         OF UC                           OF UC           OF UC             OF UC        OF UC        OF UC        OF UC
                                         RELEASED
                         RELEASED                        RELEASED        RELEASED          RELEASED     RELEASED     RELEASED     RELEASED
                                         TO
                         TO                              TO              TO                TO           TO           TO           TO
     STATE                               SPONSORS
                         SPONSORS                        SPONSORS        SPONSORS          SPONSORS     SPONSORS     SPONSORS     SPONSORS
                                         IN FY16
                         IN FY15                         IN FY17         IN FY18           IN FY19      IN FY20      IN FY21      IN FY22
                                         (OCT. 2015
                         (OCT. 2014                      (OCT. 2016      (OCT. 2017        (OCT. 2018   (OCT. 2019   (OCT. 2020   (OCT. 2021
                                         —
                         — SEPT.                         — SEPT.         — SEPT.           — SEPT.      — SEPT.      — SEPT.      — OCT.
                                         SEPT.
                         2015)                           2017)*          2018)*            2019)        2020)        2021)*       2021)
                                         2016)

     New Mexico          19              65              46               43               89           34           116          14

     New York            2,630           4,985           3,938            2,845            6,367        1,663        8,534        857

     North Carolina      844             1,493           1,290            1,110            2,522        610          4,249        467

     North Dakota        2               10              3                2                10           1            14           2

     Ohio                483             693             584              547              1,091        260          1,675        183

     Oklahoma            225             301             267              286              581          120          906          72

     Oregon              122             188             170              200              318          71           438          47

     Pennsylvania        333             604             501              563              1,229        271          2,103        237

     PR                  0               0               0                1                3            3            0            0

     Rhode Island        185             269             234              235              453          92           520          59

     South
                         294             562             483              508              1,012        255          1,743        213
     Carolina

     South Dakota        61              81              81               96               149          44           233          30

     Tennessee           765             1,354           1,066            1,173            2,191        510          4,267        427

     Texas               3,272           6,550           5,391            4,136            9,900        2,336        15,341       1,681

     Utah                62              126             99               97               179          75           307          27

     Vermont             1               1               0                2                6            1            8            0

     Virginia            1,694           3,728           2,888            1,650            4,215        770          5,400        629

     Washington          283             476             494              435              723          237          1,113        135

     West Virginia       12              26              23               23               41           4            60           5

     Wisconsin           38              85              94               98               246          62           531          60

     Wyoming             6               23              14               15               15           6            22           4

     Virgin Islands      0               0               3                0                0            0            0            0

     TOTAL               27,840          52,147          42,497           34,953           72,837       16,837       107,686      11,701


  *The FY2015 numbers have been reconciled.

  *The FY2017 numbers have been reconciled.

  *The FY2018 numbers have been reconciled.

  *The FY2021 numbers have been reconciled.
https://www.acf.hhs.gov/orr/grant-funding/unaccompanied-children-released-sponsors-state                                                       3/4
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  For more information, please read ORR’s reunification policy.


       Topics:
       Unaccompanied Children (UC)

       Types:
       Grants & Funding

       Audiences:
       Unaccompanied Alien Children (UAC)



  Current as of: November 26, 2021




https://www.acf.hhs.gov/orr/grant-funding/unaccompanied-children-released-sponsors-state                                    4/4
